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                          UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF NORTH CAROLINA
                                  NEW BERN DIVISION

  IN RE:

  CARLOS F. GOMEZ                                               CASE NO. 18-02707-5-DMW
                                                                CHAPTER 11
         DEBTOR.

                       FIRST AMENDED PLAN OF REORGANIZATION

         Pursuant to the provisions of Section 1123 of the Bankruptcy Code (11 U.S.C. § 1123),
  the Debtor hereby submits the following First Amended Plan of Reorganization (“Plan”):

                                      I. SUMMARY OF PLAN

          The Plan contemplates a reorganization of the Debtor’s obligations. In accordance with
  the Plan, the Debtor intends to satisfy creditor claims through income earned from his work at
  Coastal Engineering & Surveying, Inc., a North Carolina professional corporation owned solely
  by the Debtor. The Debtor’s Plan of Reorganization is based on the Debtor’s belief that the
  interests of his creditors will be best served if he is allowed to reorganize his debts.

          The Debtor’s liabilities will be paid according to the priorities of the Bankruptcy Code
  and the Orders of this Court. The specific amounts and terms of payment will be made
  according to the treatment of each respective creditor. A list of the Debtor’s liabilities as of the
  date of this Plan is attached hereto as Exhibit A.

         The Plan changes 3 classes of creditors:

         Class 4 Loancare: Contemplates a 12 month marketing period to sell the Debtor’s
  residence commonly referred to as 46 Juniper Trail, Southern Shores, NC (“Property”). The
  Debtor will make payments to LoanCare during this time. If the Debtor is not able to sell the
  Property, the Debtor agrees to sell the Property via public auction.

         Class 5 Wells Fargo: Wells Fargo shall retain its lien until the sooner of (i) the sale of the
  Property; or (ii) the Debtor receives his discharge.

         Class 6 General Unsecured Creditors: The total amount of claims in this class is now
  estimated to be $358,893.51. The original Plan estimated unsecured claims to be $273,272.45.
  The bulk of this change is due to the Debtor estimating LoanCare’s unsecured claim to now be
  $154,107.94 versus $71,010.38. In addition, on December 3, 2018, an Order Allowing
  Objection to Claim Numbers 7 and 8 of the United States Small Business Administration
  (“SBA”) was entered denying SBA’s claim. The Debtor’s business, Coastal Engineering &
  Surveying, Inc., is still primarily liable for Claim Number 8 and will continue to make its regular
  payment. The claims of Gray & Lloyd, LLP, for $700.00 and Moss & Associates, PC, for
  $400.00 were purchased by the Debtor’s daughter.



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                                        II. DEFINITIONS

          A.     Definitions and Defined Terms. Unless the context otherwise requires and for
  purposes of the Plan and the accompanying Disclosure Statement, the following terms shall have
  the following meanings when used in capitalized form:

                1.     “ADMINISTRATIVE CLAIM” shall mean any Claim entitled to priority
         under Section 507(a)(1) of the Bankruptcy Code.

                 2.      “ADMINISTRATIVE CLAIM BAR DATE” shall have the meaning set
         forth in Section V of the Plan.

                 3.     “ALLOWED” shall mean (a) any Claim against the Debtor, proof of
         which was timely filed or by order of the Bankruptcy Court was not required to be filed;
         or (b) any Claim that has been listed in the Schedules as liquidated in amount and not
         disputed or contingent; and in each such case in (a) or (b) above, as to which either (1) no
         objection to the allowance thereof or other similar pleading has been filed within the
         applicable period, or (2) an objection or other similar pleading has been filed and the
         Claim has been allowed by a Final Order of the Bankruptcy Court, but only to the extent
         so allowed.

                 4.     “BANKRUPTCY CAUSES OF ACTION” shall mean any claim or cause
         of action which may be asserted by a Debtor or a debtor-in-possession under Sections
         541, 542, 543, 544, 546, 547, 548, 549, 550, or 553 of the Code.

                5.     “BANKRUPTCY CODE” or “CODE” shall mean the United States
         Bankruptcy Code, Title 11 of the United States Code, as enacted in 1978 and thereafter
         amended. References to “§___” herein shall refer to a section of the Bankruptcy Code,
         11 U.S.C. §101, et seq.

               6.       “BANKRUPTCY RULES” shall mean the Federal Rules of Bankruptcy
         Procedure, as amended from time to time, as applicable to Chapter 11 cases.

                 7.      “CLAIM” shall mean a duly listed or a timely filed claim that is allowed
         in order to be paid by the Court.

                8.      “CLASS” shall mean any one of the Classes of Claims or Interests
         designated in Article III of the Plan.

                9.      “CONFIRMATION DATE” shall mean the date of entry by the Court of
         an order confirming the Plan at or after a hearing pursuant to 11 U.S.C. §1129.

                10.    “CONFIRMATION HEARING” shall mean the hearing conducted by the
         Court regarding confirmation of the Plan pursuant to 11 U.S.C. §1129.

                11.    “CONFIRMATION ORDER” shall mean the order of the Court
         confirming the Plan.



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               12.    “COURT” shall mean the United States Bankruptcy Court for the Eastern
       District of North Carolina, including the United States Bankruptcy Judge presiding in the
       Chapter 11 case of the Debtor.

              13.    “CREDITORS” shall mean all creditors of the Debtor holding claims for
       unsecured debts, liabilities, demand or claims of any character whatsoever.

               14.     “DEBTOR” shall mean the Debtor (or Debtors, if more than one)
       identified on the first page of this Plan.

               15.    “DISBURSING AGENT” shall mean the Reorganized Debtor, attorney, or
       that person selected by the Court who shall perform the duties and have the rights and
       obligations described herein.

               16.     “DISCLOSURE STATEMENT” shall mean the Disclosure Statement
       describing this Plan prepared in accordance with §1125 and approved by order of the
       Bankruptcy Court, to be distributed to the holders of claims whose votes with respect to
       this Plan are to be solicited.

              17.     “DISPUTED CLAIM” shall mean any claim (a) that is scheduled by the
       Debtor as disputed, contingent or unliquidated, or (b) that is scheduled by the Debtor, or
       proof of which has been filed with the Bankruptcy Court and with respect to which a
       timely objection to allowance, in whole or in part, has been filed and which objections
       have not been (i) withdrawn or settled, or (ii) determined by a Final Order.

              18.    “DISTRIBUTION DATE” shall mean the date on which distributions are
       to be made under the Debtor’s Plan.

              19.    “EFFECTIVE DATE” shall be that date on which the Order Confirming
       Plan becomes final and non-appealable.

             20.    “FINAL DECREE” shall mean the order of this Court pursuant to
       Bankruptcy Rule 3022 closing this case.

               21.     “FINAL ORDER” shall mean an order of the Court that has been entered
       and either (a) the time for appeal from such entered order has expires; or (b) any appeal
       that has been timely filed has been dismissed or otherwise finally determined.

               22.    “GENERAL UNSECURED CLAIM” shall mean any claim, whether or
       not liquidated or contingent, other than a priority claim, administrative claim, or secured
       claim.

               23.    “IMPAIRED” classes of creditors are those whose claims or interests are
       altered by the Plan, or who will not receive under the Plan the allowed amount of their
       claims in cash as of the “Effective Date” (as defined in the Plan).

              24.     “LITIGATION CLAIM” shall mean any Claim asserted against the
       Debtor, including those claims that are disputed, contingent, or unliquidated, arising out


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       of allegations of personal injury, wrongful death, property damage, product liability, tort
       claims, breach of contract claim, or similar theories of recovery for which coverage may
       exist under any insurance policy(ies) held by the Debtor.

              25.    “NON-EXEMPT PROPERTY” shall mean the assets listed in Section V,
       paragraph E of this Plan.

              26.    “PETITION DATE” shall mean the date upon which the Debtor filed the
       voluntary Chapter 11 petition.

             27.   “PLAN” shall mean this Plan of Reorganization in its present form or as it
       may be amended or modified.

               28.    “PRIORITY CLAIM” shall mean any claim to the extent entitled to
       priority in payment under §507.

               29.     “PRO-RATA” shall mean the amount of cash or property to be paid or
       distributed to a claimant with respect to an Allowed Claim on a particular date, in
       accordance with the ratio, as of such date, of the dollar amount of the Allowed Claim of
       such person in the indicated class to the aggregate dollar amount of Claims in the
       indicated class (including, in each such calculation, the full amount of Disputed Claims in
       the class which have been asserted or are otherwise pending and which have not yet been
       allowed or otherwise disposed of).

               30.      “REORGANIZED DEBTOR” shall mean the Debtor, as reorganized
       under the terms of this Plan and revested with the property which was formerly property
       of the estate, as provided by 11 U.S.C. § 1141(b).

              31.     “SALE” shall mean the sale of certain assets of the Debtor under this Plan.

               32.   “SALE PROCEEDS” means the proceeds of the Sale of certain assets of
       the Debtor under this Plan, after payment of all reasonable and ordinary closing costs,
       (including but not limited to ad valorem taxes, commissions, and any other costs
       permitted under Section 506(c) of the Code).

               33.     “SECURED CREDITORS” shall mean all creditors who hold a lien,
       security interest or any other encumbrances that have been properly perfected as required
       by law with respect to property owned by the Debtor, to the extent of the value of the
       collateral.

               34.     “SUBSTANTIAL CONSUMMATION” shall mean the time the
       reorganized Debtor have commenced the distribution of initial Plan payments to all
       creditor classes.

              35.     “TAX CLAIM” shall mean any claim entitled to priority in treatment
       pursuant to §507(a)(8).




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        B.      Other Defined Terms. Capitalized terms not defined in this Plan shall have the
  meaning set forth in 11 U.S.C. § 101 of the Bankruptcy Code.

          C.      Rules of Interpretation. For purposes of this Plan: (a) in the appropriate context,
  each term, whether stated in the singular or the plural, shall include both the singular and the
  plural, and pronouns stated in the masculine, feminine or neuter gender shall include the
  masculine, feminine and the neuter gender; (b) any reference herein to a contract, lease,
  instrument, release, indenture or other agreement or document being in a particular form or on
  particular terms and conditions means that the referenced document shall be substantially in that
  form or substantially on those terms and conditions; (c) any reference herein to an existing
  document or exhibit having been filed or to be filed shall mean that document or exhibit, as it
  may thereafter be amended, modified or supplemented; (d) unless otherwise specified, all
  references herein to “Articles” or “Sections” are references to Articles or Sections, as applicable,
  hereof or hereto; (e) unless otherwise stated, the words “herein,” “hereof” and ‘‘hereto’’ refer to
  the Plan in its entirety rather than to a particular portion of the Plan; (f) captions and headings to
  Articles and Sections are inserted for convenience of reference only and are not intended to be a
  part of or to affect the interpretation hereof; (g) the rules of construction set forth in § 102 of the
  Bankruptcy Code shall apply; and (h) any immaterial effectuating provisions may be interpreted
  by the Debtor in a manner that is consistent with the overall purpose and intent of the Plan all
  without further Order of the Court.

          D.     Governing Law. Unless a rule of law or procedure is supplied by federal law
  (including the Bankruptcy Code and Bankruptcy Rules) or unless otherwise specifically stated,
  the laws of the State of North Carolina, without giving effect to the principles of conflict of laws,
  shall govern the rights, obligations, construction and implementation of the Plan, any
  agreements, documents, instruments or contracts executed or entered into in connection with the
  Plan (except as otherwise set forth in those agreements, in which case the governing law of such
  agreement shall control); provided, however, that corporate governance matters relating to the
  Debtor and/or the Reorganized Debtor, shall be governed by the laws of the State of North
  Carolina.

                         III. CLASSIFICATION AND TREATMENT OF
                             CLASSES OF CLAIMS AND INTERESTS

          A.     Classification of Claims Generally. Pursuant to §§ 1122 and 1123 of the
  Bankruptcy Code, this Article represents the designation of Classes of Claims under the Plan. A
  Claim is in a particular Class for the purposes of voting on, and receiving distributions pursuant
  to the Plan only to the extent that such Claim is an Allowed Claim in that Class and such Claim
  has not been paid, released, withdrawn, or otherwise determined by a Final Order before the
  Effective Date. A Claim shall be deemed classified in a particular Class only to the extent that
  the Claim qualifies within the description of that Class, and shall be deemed classified in a
  different Class to the extent that any remainder of such Claim qualifies within the description of
  such different Class. Any Class of Claims that is not occupied as of the date of the Confirmation
  Hearing of the Plan by an Allowed Claim, or a Claim temporarily Allowed under Bankruptcy
  Rule 3018, and for which, on the Effective Date, there are no Disputed Claims in such Class
  pending, shall be deemed deleted from the Plan for all purposes.




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           B.     Summary of Classification. The Plan includes the classification set forth and
  described in more detail below, which designates the Classes of Claims against the Debtor and
  specifies those that are Impaired or Unimpaired by the Plan and entitled to vote to accept or
  reject the Plan in accordance with § 1126 or deemed to reject the Plan:

    Class       Class                                       Impairment Voting Rights
    No.
    Class 1     Administrative Claims and Expenses          Impaired        Entitled to Vote
    Class 2     Ad Valorem Tax Claims                       Unimpaired      Not Entitled to Vote
                                                                            (Deemed to Accept)
    Class 3     Unsecured Priority Tax Claims               Unimpaired      Not Entitled to Vote
                                                                            (Deemed to Accept)
    Class 4     LoanCare                                    Impaired        Entitled to Vote

                                                                            Secured Claim          to
                                                                            Vote in Class 4

                                                                            Unsecured Claim to
                                                                            Vote is Class 6
    Class 5     Wells Fargo                                 Impaired        Entitled to Vote in
                                                                            Class 6
    Class 6     General Unsecured Claims                    Impaired        Entitled to Vote

         C.      Voting of Claims. Each holder of an Allowed Claim in an Impaired Class of
  Claims shall be entitled to vote to accept or reject the Plan.

          D.      Acceptance by Impaired Classes. Each Impaired Class that will or may receive
  or retain property or any interest in property under the Plan shall be entitled to vote to accept or
  reject the Plan. An Impaired Class shall have accepted the Plan if (i) the holders (other than any
  holder designated under § 1126(e)) of at least two-thirds (2/3) in amount of the Allowed Claims
  actually voting in such Class have voted to accept the Plan and (ii) the holders (other than any
  holder designated under §1126(e) of the Bankruptcy Code) of more than one-half (1/2) in
  number of the Allowed Claims actually voting in such Class have voted to accept the Plan.

          E.      Acceptance by Unimpaired Classes. Those Claims in Unimpaired Classes are
  conclusively deemed to have accepted the Plan pursuant to § 1126(f) and, therefore, are not
  entitled to vote to accept or reject the Plan.

         F.      Classification and Treatment of Classes. The Debtor classifies the following
  Classes of Claims, indicating whether said Class is Impaired or Unimpaired, and proposes the
  following treatment:

         Class 1 - Administrative Costs:

         (1)     Description of Claims. Class 1 consists of claims for any cost or expense of
  administration pursuant to Sections 503, 506, and 507 of the Bankruptcy Code.




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         The following claims of professionals will be paid subject to Court approval:

         Stubbs Perdue, Attorney for the Debtor                TBD

         (2)     Impairment.    This class will be impaired.

           (3)    Treatment. Administrative costs and expenses approved by the Court shall be
  paid in cash and in full including accruals to date of payment within ten days from the Effective
  Date of the Plan or upon entry of an Order allowing such Administrative Claim, whichever is
  later, except that professional fees shall be paid in full upon entry of an Order allowing the same,
  or pursuant to any agreement between the Debtor and the holder of a Class 1 Allowed Claim.

          In the event that funds are not available to pay such costs and expenses within ten (10)
  days of the Effective Date of the Plan, then each holder of such a claim that agrees to receive
  payments over time will receive payments from the Debtor until paid in full. At the request of
  such administrative claimant, such amounts will be secured by collateral to be agreed upon by
  the Debtor and such administrative claimant. The Debtor and such administrative claimant shall
  enter into a promissory note and security instrument to document such transaction. Such claims
  remaining unpaid ten days following the Effective Date shall accrue interest at a rate of eight
  percent (8%) per annum.

         Class 2 – Ad Valorem Taxes:

          (1)    Description of Claims. Class 2 consists of claims for taxes owed by the Debtor to
  any city, county, or other municipality or taxing entity entitled to tax the property of the Debtor
  based upon the value of the property assessed. The Debtor is unaware of any claims in this class.

         (2)     Impairment. This class will be unimpaired.

          (3)      Treatment. To the extent a claim is allowed in this class, the Debtor will pay
  claims in this class with quarterly payments over a period of five (5) years from the Petition
  Date. Quarterly payments shall commence on the earlier of January 15, April 15, July 15, or
  October 15 following the Effective Date and shall continue quarterly thereafter, and shall include
  interest at the applicable rate imposed by the tax collector.

         Ad valorem taxes for the current tax year may be treated as a prepetition claim and not as
  an administrative expense. See In Re St. Lawrence Homes, Inc., Case No. 09-00775-8, Order
  dated July 28, 2010, citing In Re Members Warehouse, Inc., 991 F.2d 116, 118-119 (4th Cir.
  1993).

         Class 3 – Priority Tax Claims:

          (1)    Description of Claims. Class 3 consists of claims against the Debtor for income
  taxes, withholding taxes, unemployment taxes and/or any and all other taxes levied or entitled to
  be levied against the Debtor by the Internal Revenue Service or the North Carolina Department
  of Revenue plus interest as allowed by law. The Debtor is aware of the following claims in this
  Class:



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           Creditor                              Claim #            Amount
           IRS                                      4          $      87,825.90
           NC DoR                                   1          $      34,728.50


         (2)     Impairment. This class will be unimpaired.

         (3)     Treatment. To the extent a claim is allowed in this Class, the Debtor proposes the
  following treatment:

         Costs and expenses of administration, if any, shall be paid in cash and in full including
  accruals to date of payment within thirty (30) days from the Effective Date.

          Unsecured priority tax claims, if any, described in Section 507(a)(8) of the Bankruptcy
  Code shall be paid in full in quarterly installments over a period not exceeding five (5) years
  from the Petition Date and payments shall commence on the earlier of January 15, April 15, July
  15, or October 15 following the Effective Date and shall continue quarterly thereafter, with
  interest at the statutory rate as of the Effective Date. For feasibility purposes, the Debtor
  estimates the quarterly payments to the IRS to be $6,433.27 per quarter and to North Carolina
  Department of Revenue to be $2,543.87 per quarter.

          In the event that the Debtor fails to timely make a required payment as to any claim of the
  North Carolina Department of Revenue (“Department”), then, subject to a ten (10) day right to
  cure following written notice of default from the Department, the Department shall be permitted
  to exercise any and all of its collection remedies under non-bankruptcy law as to any and all of
  its claims without further order of the Court. The rights of the Department to setoff under 11
  U.S.C. § 553 shall not be altered by the Plan or the confirmation order entered in this matter and
  are expressly reserved. The claim of the North Carolina Department of Revenue is subject to
  adjustment on account of federal corrections, as required by N.C. Gen. Stat. § 105-130.20 (for
  corporations, LLCs and other entities) and N.C. Gen. Stat. § 105-159 (for individuals).
  Notwithstanding any other provisions of the Plan and the confirmation order, the Department
  shall retain any and all statutory tax liens that may have arisen by operation of statute prior to the
  Petition Date, except to the extent that the treatment for the Secured Claimants in Class 4
  expressly states that such tax lien will not be treated as secured or fully secured in the treatment
  for Class 4. Absent such express language in the treatment for Class 4, any such lien may be
  ruled unenforceable by the Bankruptcy Court only upon the filing of a separate pleading and
  after notice and a hearing.

          Unsecured general tax claims, if any, will be treated as provided below in the section
  relating to “General Unsecured Claims.”

         Class 4 – LoanCare:

          (1)   Description of Debt. On or about, February 16, 2007, the Debtor executed a
  promissory note in the original principal amount of $505,800.00 in favor of Resource Bank
  (“Note”). The Note had a maturity date of March 1, 2037. The Note is secured by a deed of
  trust recorded in the Dare County Registry in Book 1719, at Page 282, on real property



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  commonly referred to as 46 Juniper Trail, Southern Shores, NC (“Property”). Upon information
  and belief, LoanCare is the current servicer for the Note. Reference to Loan Care shall include
  the actual noteholder and any other agents/principals of the noteholder and LoanCare. LoanCare
  filed Claim Number 9 in the amount of $559,024.58.

         Prior to and during this bankruptcy, the Debtor applied for a loan modification with
  LoanCare. On December 4, 2018, the Debtor was approved for a “Standard Modification Trial
  Period Plan Notice” that required the Debtor to make three payments of $4,478.60 on January 1,
  2019, February 1, 2019, and March 1, 2019. The Debtor made these three payments early and
  received the final “Loan Modification Agreement” on February 11, 2019. The Loan
  Modification Agreement set the amount payable under the Note and Security Instrument to
  $574,107.94 with payments on $70,452.06 of this amount being deferred until February 1, 2037
  at 0%. The remaining balance of $503,655.88 would bear interest at 4.810% beginning February
  1, 2019. Pursuant to the Loan Modification Agreement would be $4,478.60 per month which
  was comprised of $3,489.41 for principal and interest and $989.19 for taxes and insurance
  escrow.

          Based upon nearby sales and his knowledge of the area, the Debtor contends his Property
  is valued at $420,000.00. Accordingly, the Debtor has decided to reject the Loan Modification
  Agreement.

         (2)    Impairment. This class will be unimpaired.

          (3)    Treatment. The Debtor proposes to market the Property for a period of 12 months
  from the Effective Date (“Marketing Period”). If the Debtor (i) is unable to procure a signed
  contract for the purchase of the Property, which sale must close within 14 months of the
  Effective Date and be agreeable to LoanCare, or (ii) defaults on the conditions below, the Debtor
  shall immediately cause the Property to be sold via public auction. The Debtor’s right to the
  Marketing Period is subject to the following conditions:

                a.    Beginning on the 15th of the first full month following the Effective Date,
         the Debtor shall make payments to LoanCare of $4,478.60 per month which was
         comprised of $3,489.41 for principal and interest and $989.19 for taxes and insurance
         escrow.

                b.      LoanCare reserves its right to credit bid at the public auction.

                c.    LoanCare and the Debtor shall agree to an auctioneer to sell the Property.
         If the Debtor and LoanCare cannot agree to the selection of an auctioneer, the
         Bankruptcy Court shall retain jurisdiction to decide the matter.

                 d.     If the auction results in a winning bidder or bidders, the high bidder(s)
         shall have 30 days from the auction date to close the sale(s). LoanCare shall be entitled
         to prompt distribution of all net proceeds of any auction sale that it approves to the extent
         necessary to satisfy its claim against the Debtor in full, including all legal fees and costs.
         “Net proceeds” is defined as the gross sale proceeds for the assets sold, minus: (a)
         auctioneer commission and/or fees and costs approved by the Debtor and LoanCare
         and/or the Bankruptcy Court, if necessary; (b) reasonable and customary closing costs


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        approved by the Debtor and LoanCare and/or the Bankruptcy Court, if necessary; and (c)
        any outstanding real property taxes that must be paid at closing in order to convey clear
        title to the purchaser(s) (“Net Proceeds”). No other deductions from gross sale proceeds
        of a private sale shall be allowed in the calculation of Net Proceeds unless and until the
        Debtor and LoanCare agree upon the same, or in the event they cannot agree, then either
        party may submit the proposed additional deductions to the Bankruptcy Court for
        consideration.

               e.      If there are Net Proceeds remaining after payment of the above, these
        proceeds shall be immediately paid to Wells Fargo for its Class 5 Claim.

                f.     To the extent that the Debtor and LoanCare are unable to reach a
        consensus to any terms outlined herein, either party shall be permitted to seek an
        expedited hearing on any such challenge or request; provided, however, that such hearing
        shall not occur on less than three business days’ notice to all parties in interest.

                g.       LoanCare’s unsecured claim shall be limited to the lesser of (i) its claim
        less Net Proceeds from the private or public sale; or (ii) if LoanCare rejects a private sale
        and the public auction produces less Net Proceeds, LoanCare’s unsecured claim will be
        its claim less the proceeds it would have received from the private sale.

                h.      The balance of LoanCare’s claim shall be treated in Class 6. For
        feasibility purposes, the Debtor has estimated that LoanCare has a claim of $574,107.94
        which is comprised of a secured claim of $420,000.00 and an unsecured claim of
        $154,107.94.

                i.     LoanCare shall file an amended claim with the Bankruptcy Court within
        30 days of receiving the Net Proceeds from the sale of the Property. If LoanCare fails to
        file an amended claim with the Bankruptcy Court within 30 days of receiving the Net
        Proceeds from the sale of the Property, LoanCare will be deemed to have waived its
        unsecured claim and it shall be $0.00.

         This sale of the Property shall be sold free and clear of all liens, encumbrances, claims,
 interests, or other obligations. No further motions related to the sale of this Property shall be
 required; provided however, the Debtor may file such motions and seek such orders to the extent
 needed to provide reasonable comfort or accommodation to the purchaser(s) or title insurance
 companies to the extent needed or requested. Additional information on the free and clear sale is
 found in Section V. Means of Implementation and Execution of Plan.

        Class 5 – Wells Fargo:

         (1)   Description of Debt. On or about, November 2, 2007, the Debtor executed a
 Prime Equity Line of Credit Agreement with a maximum principal amount of $150,000.00 in
 favor of Wachovia Bank, N.A. (“Note”). The Note had a maturity date of November 1, 2037.
 The Note is secured by an open ended deed of trust recorded in the Dare County Registry in
 Book 1750, at Page 126, on real property commonly referred to as 46 Juniper Trail, Southern
 Shores, NC (“Property”). Upon information and belief, Wells Fargo, N.A., is the current holder
 of the Note. Wells Fargo filed Claim Number 3 in the amount of $146,394.09.


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        (2)        Impairment. This class will be impaired.

        (3)    Treatment. This claim shall be treated as an unsecured claim in Class 6 below
 and Wells Fargo’s vote shall be included in Class 6. Wells Fargo shall retain its lien until the
 Debtor receives his discharge or the Property is sold free and clear of liens. Within 60 days of
 the Debtor’s Discharge or the sale described in Class 4, Wells Fargo shall cancel its lien on this
 Property. If Wells Fargo fails to cancel its lien, the Debtor shall be authorized to use the Order
 Confirming Plan to cancel this lien with the Dare County Registry.

         If Wells Fargo receives any distribution from the sale of the Property, it will file an
 amended claim with the Bankruptcy Court within 30 days of receiving the Net Proceeds from the
 sale of the Property. Further, if Wells Fargo fails to file an amended claim with the Bankruptcy
 Court within 30 days of receiving any Net Proceeds from the sale of the Property, Wells Fargo
 will be deemed to have waived its remaining unsecured claim and it shall not receive any further
 unsecured distributions from that point forward.
         Class 6 – General Unsecured Creditors:

         (1)    Description of Class. This class consists of all allowed, undisputed, non-
 contingent, unsecured claims and deficiency claims listed in the Debtor’s petition or as otherwise
 approved by the Court. The total of claims in this class as of the filing of this Plan is estimated
 to be $358,893.51.

        (2)        Impairment. This class will be impaired.

         (3)     Treatment. The Debtor shall pay the holders of claims in this Class a total of
 $50,000.00 to be paid pro rata at $2,500.00 per quarter for 20 quarters. The first payment shall
 be on the 15th day of the 1st full month following the Effective Date. At the time of the filing of
 this Plan, the Debtor estimates the following payment schedule:

                                                                                        Approximate payment
  Class 6:                                                      $50,000 paid pro rata
                                                                                                  @
  GENERAL                    Clm     Impaired     $358,893.51    Approximate total
                                                                                        $2,500 per quarter for
  UNSECURED CLAIMS                                              payment over 5 years
                                                                                         20 quarters (5 years)
  Bank of America #6317                            $25,905.00        $3,609.01                 $180.45
                                     Unknown
  BB&T #2676                                         $0.00             $0.00                    $0.00
                                     Disputed
  Department of Education
                                                   $7,325.00         $1,020.50                 $51.02
  #0513
  Navient #9537               2                    $7,696.31         $1,072.23                 $53.61
  New Dixie Oil                     $376,843.63
                                                     $0.00             $0.00                    $0.00
  Corporation                        Disputed
                                     Unknown
  OB Gas, L.L.C.                                     $0.00             $0.00                    $0.00
                                     Disputed
  Outer Banks Emergency
                                                    $391.00            $54.47                   $2.72
  Dept. #9800




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                                     Order
  Small Business                    Denying
                            7                       $0.00              $0.00                  $0.00
  Administration #024B               Claim
                                     DE-72
                                     Order
  Small Business                    Denying
                            8                       $0.00              $0.00                  $0.00
  Administration #024B               Claim
                                     DE-72
  U.S. Bank, NA dba Elan
                            5                     $2,648.50           $368.98                 $18.45
  Financial
  US Department of
                                                  $2,634.00           $366.96                 $18.35
  Education #3747
  US Department of
                                                  $1,629.00           $226.95                 $11.35
  Education #9997
  Wells Fargo #1886         6                     $6,032.94           $840.49                 $42.02
  Class 4 Loan Care
                                   estimated     $154,107.94        $21,469.87              $1,073.49
  Unsecured Claim
  Class 5 Wells Fargo
                            3                    $146,394.09        $20,395.20              $1,019.76
  Unsecured Claim
  IRS Unsecured Claim       4                     $4,129.73           $575.34                 $28.77
                                                                    $50,000.00              $49,999.80

 The Debtor shall pay LoanCare’s pro rata share his counsel to be held in trust until after the
 proposed sale of 46 Juniper Trail, Southern Shores, NC (“Property”) in Class 4 occurs and
 LoanCare’s unsecured claim can be determined. Once LoanCare’s unsecured claim is
 determined, the Debtor shall recalculate each unsecured creditor’s pro rata share and the
 associated payments from that date forward to insure each unsecured creditor receives its pro rata
 share. If the payment changes, the Debtor will send notice of its calculations to each unsecured
 creditor with the next revised payment.

         The Debtor does not anticipate the sale of the Property to pay any proceeds to Wells
 Fargo for its Class 5 Claim. However, if the sale of the Property does produce proceeds that are
 paid to Wells Fargo, the Debtor shall recalculate each unsecured creditor’s pro rata share and the
 associated payments from that date forward to insure each unsecured creditor receives its pro rata
 share. If the payment changes, the Debtor will send notice of its calculations to each unsecured
 creditor with the next revised payment.

    IV. TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

         Except as otherwise specified in this Plan, all contracts which exist between the Debtor
 and any individual or entity, whether such contract be in writing or oral, which have not
 heretofore been rejected or heretofore been approved by Orders of the Court are hereby
 specifically rejected; provided, however, that this provision is not intended to reject and does not
 reject any agreement for the renewal or the extension of any loan or funds, presently binding and
 in effect between the Debtor and any secured creditor. The Debtor hereby assumes all leases
 currently in effect in which the Debtor is the lessor, except as may be otherwise specifically
 stated herein.

        Any person with a Claim arising from such rejection shall be deemed to hold a general



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 unsecured claim and shall file a proof of claim within thirty (30) days of the Effective Date or be
 forever barred from asserting any Claim relating to such rejection.

             V. MEANS OF IMPLEMENTATION AND EXECUTION OF PLAN

         A.     The Debtor proposes to make payments under the Plan from income earned from
 his business and cash on hand.

         B.      Authority of the Reorganized Debtor. The Reorganized Debtor shall have the
 authority to implement any term or provision of this Plan. To the extent that any right is granted
 to the Reorganized Debtor under the Plan, then the Reorganized Debtor shall have authority for
 so long as he is in existence to carry out any and all acts necessary to fulfill the terms of the Plan.
 Any authority granted to the Debtor pursuant to the Plan shall be construed as authority granted
 to the Reorganized Debtor.

        C.      Continuance of Business Operations. The Reorganized Debtor shall continue any
 business operations which he may be engaged.

          D.     Post-Effective Date Operations. From and after the Effective Date, the
 Reorganized Debtor may operate his business and manage his financial affairs, and use, acquire,
 sell, transfer, convey, or dispose of property, and settle and compromise Claims or Interests
 without supervision by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code
 or Bankruptcy Rules, other than those restrictions expressly imposed by the Plan and the
 Confirmation Order. Specifically, the Reorganized Debtor shall no longer need approval from
 the Bankruptcy Court, the Bankruptcy Administrator, or any trustee, in order to undertake any
 transaction for which Court approval was needed pursuant to Sections 363 or 364 of the
 Bankruptcy Code prior to the Effective Date, including but not limited to sales of real or personal
 property.

          E.      Except as otherwise modified in the treatment for each Secured Creditor set forth
 in Article III, all other terms and conditions of any promissory note, security agreement, deed of
 trust, loan agreement, or other loan document held by a Secured Creditor, including all events of
 default (excluding cross default provisions unless expressly retained in Article III of the Plan)
 shall remain in force and effect as they were on the Petition Date. However, no term or event of
 default that would create an immediate default due to the Debtor’s existing bankruptcy filing or
 financial condition, or are inappropriate due to the existing bankruptcy or financial situation shall
 be enforceable. The provisions of any security instrument that allow the Secured Creditor to
 foreclose on the collateral in the event of a default shall remain in effect. Any affirmative
 financial covenants in any of the loan documents relating to the debt that do not relate to the
 preservation, protection, repossession or foreclosure of the collateral shall not be effective post-
 confirmation unless expressly provided for in Article III of the Plan.

         F.      Plan Default Remedies: Unless otherwise specified, all payments required under
 the Plan shall be subject to the following default and cure provisions:

               1.      The Debtor shall have thirty (30) days from written notice of default to
        cure any alleged payment or non-monetary default; and



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               2.       If the Debtor fails to cure any such Plan obligation within the thirty (30)
        day period, the affected creditor shall be permitted to exercise all collection rights under
        applicable state law with respect to its Allowed Claim(s).

         G.       Cancellation of Liens. In the event the treatment provided for a Secured Creditor
 in Article III results in such creditor being treated as wholly unsecured, such creditor shall cancel
 its deed of trust or security instrument within thirty (30) days of the Effective Date. In the event
 of non-compliance by the Secured Creditor, the Debtor proposes that the Confirmation Order
 will contain a provision directly cancellation of the specified lien.

         H.      Except as expressly stated in the Plan, or allowed by a Final Order of the
 Bankruptcy Court, no interest, penalty, or late charge shall be allowed on any claim subsequent
 to the Petition Date, unless otherwise required by the Code. No attorney’s fees or expenses shall
 be paid with respect to any claim except as specified herein or as allowed by a Final Order of the
 Court.

         I.       Sale of 46 Juniper Trail. The Debtor shall be authorized to sell the real property
 commonly referred to as 46 Juniper Trail, Southern Shores, NC (“Property”). The Debtor may
 employ a broker to market and sell the Property without further order from the Bankruptcy
 Court. The Debtor shall have 12 months to obtain a signed contract for the purchase of the
 Property, which sale must close within 14 months of the Effective Date. LoanCare shall have the
 right to reject any contract brought to it by the Debtor.

         If the Debtor (i) is unable to procure a signed contract for the purchase of the Property,
 which sale must close within 14 months of the Effective Date and be agreeable to LoanCare, or
 (ii) defaults on the conditions in Class 4, the Debtor shall immediately cause the Property to be
 sold via public auction.

         LoanCare reserves its right to credit bid at the public auction. LoanCare and the Debtor
 shall agree to an auctioneer to sell the Property. If the Debtor and LoanCare cannot agree to the
 selection of an auctioneer, the Bankruptcy Court shall retain jurisdiction to decide the matter. If
 the auction results in a winning bidder or bidders, the high bidder(s) shall have 30 days from the
 auction date to close the sale(s). LoanCare shall be entitled to prompt distribution of all net
 proceeds of any auction sale that it approves to the extent necessary to satisfy its claim against
 the Debtor in full, including all legal fees and costs. “Net proceeds” is defined as the gross sale
 proceeds for the assets sold, minus: (a) auctioneer commission and/or fees and costs approved by
 the Debtor and LoanCare and/or the Bankruptcy Court, if necessary; (b) reasonable and
 customary closing costs approved by the Debtor and LoanCare and/or the Bankruptcy Court, if
 necessary; and (c) any outstanding real property taxes that must be paid at closing in order to
 convey clear title to the purchaser(s) (“Net Proceeds”). No other deductions from gross sale
 proceeds of a private sale shall be allowed in the calculation of Net Proceeds unless and until the
 Debtor and LoanCare agree upon the same, or in the event they cannot agree, then either party
 may submit the proposed additional deductions to the Bankruptcy Court for consideration. Any
 remaining Net Proceeds remaining after payment of the above shall be immediately paid to
 Wells Fargo for its Class 5 Claim.

         If the Debtor and LoanCare are unable to reach a consensus to any terms outlined herein,
 either party shall be permitted to seek an expedited hearing on any such challenge or request;


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 provided, however, that such hearing shall not occur on less than three business days’ notice to
 all parties in interest.

         This sale of the Property shall be sold free and clear of all liens, encumbrances, claims,
 interests, or other obligations. No further motions related to the sale of this Property shall be
 required; provided however, the Debtor may file such motions and seek such orders to the extent
 needed to provide reasonable comfort or accommodation to the purchaser(s) or title insurance
 companies to the extent needed or requested.

        J.       Sale Free and Clear of Liens. Any real and personal property owned by the
 Debtor that will be sold pursuant to this Plan will be sold free and clear of all liens,
 encumbrances, claims, interests, or other obligations. In order to expedite the sale process,
 provide clear title to the properties sold, and satisfy certain anticipated requirements of title
 insurance companies providing title insurance to purchasers, the Debtor may seek to have the
 Court enter a separate free and clear order, which shall provide that all sales will be free and
 clear of all liens, interests, and other claims or interests; provided however, that. No further
 motions related to the sales of property shall be required.

         This Plan specifically contemplates the sale free and clear of real property commonly
  referred to as 46 Juniper Trail, Southern Shores, NC (“Property”). This property shall be sold
  free and clear of the following known encumbrances:

        •       Deed of Trust in favor of CIT Bank, N.A. (LoanCare, LLC is servicer) recorded
                in the Dare County Registry in Book 1719, at Page 282;
        •       Deed of Trust in favor of Wachovia Bank (now Wells Fargo Bank, N.A.)
                recorded in the Dare County Registry in Book 1750, at Page 126; and
        •       Any and all taxes, income taxes, real property taxes, or personal property taxes
                due and owing to any City, County, municipal corporation, or other taxing
                authority, including Dare County, the Town of Southern Shores, the North
                Carolina Department of Revenue, the North Carolina Department of Commerce,
                and the Internal Revenue Service.

        K.      In the event the Plan proposes to sell any property free and clear of liens, Secured
 Creditors shall be required to sign lien releases to facilitate closing in a form and manner
 acceptable to the closing attorney.

          L.     Distribution of Sales Proceeds. Upon the sale of any real or personal property
 proposed to be sold by this Plan, the liens secured by such property shall attach to the net
 proceeds of sale remaining after payment of costs of sale and all reasonable and ordinary closing
 costs, (including but not limited to ad valorem taxes, commissions, and any other costs permitted
 under Section 506(c) of the Code), and shall be paid to lienholders in accordance with the
 priorities of such liens, and then to other creditors in accordance with the priorities of the Code.
 In the event the net proceeds of sale are insufficient to satisfy all claims within a class, such
 proceeds to be distributed to such class will be distributed pro rata. The Debtor may elect to file
 additional motions with the Court setting forth the proposed distribution of any excess sales
 proceeds prior to distribution to creditors.




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         M.      Preservation of Right to Credit Bid. All secured creditors shall retain the rights
 granted to them under § 363(k) to purchase their collateral via a credit bid upon the same or
 better terms of the proposed purchaser. In the event of a private sale which shall not satisfy the
 claim of the secured creditor(s) in full, the Debtor shall provide the secured creditor with a copy
 of the purchase contract in the manner designated by such creditor and such creditor shall have
 until no later than one hour before the Debtor’s deadline for accepting such contract to inform
 the Debtor in writing whether it wishes to purchase the property via a credit bid upon the same or
 better terms than that offered by the purchaser. In the event the creditor does not provide written
 notification to the Debtor that it will purchase the property by credit bid, the creditor shall be
 deemed to waive its right to credit bid. Each secured creditor shall be responsible for providing
 the Debtor with information concerning the method by which it wishes to be notified to potential
 purchase contracts for purposes of credit bidding (i.e. fax, electronic mail, or telephonic
 notification).

         N.      Post-Confirmation Sales by the Reorganized Debtor. The Debtor may sell,
 transfer, or otherwise dispose of all or some of his assets at any time after the Effective Date that
 are not contemplated by the Plan. In the event the Debtor sells all or substantially all of his
 assets before he has paid in full all Allowed Claims, then the Debtor shall pay in full the balance
 of any Allowed Claims at the closing of such sale or disposition of assets, or as soon thereafter as
 is practical.

         O.     Prior to the sale or liquidation of any real or personal property called for by the
 Plan, the Debtor shall consult with his accountant to estimate the resulting taxes. To the extent
 funds are available after the payment of liens, such amount, as determined by the CPA, shall be
 escrowed in an account set up by the Debtor prior to any distributions to other creditors called
 for by the Plan from such sales proceeds. Taxes, such as income and capital gains taxes,
 resulting from such sales shall be paid from the account when the taxes are due.

         P.      Deficiency Claims Following Post-Effective Date Foreclosures. Each Secured
 Creditor who is entitled to foreclose on its collateral under the terms of the Plan after the
 Effective Date shall have 120 days after the Effective Date to complete the foreclosure of its
 collateral. Each such creditor shall have 150 days following the Effective Date to file a proof of
 claim for any deficiency or be forever barred from asserting any deficiency claim and such
 obligation shall be deemed paid in full. Such proof of claim shall include an itemization of the
 principal, interest, and other costs. Any such deficiency claim shall be treated in the unsecured
 creditor class. In the event the Debtor obtains his Final Decree prior to the determination of any
 deficiency claim, such secured creditor shall inform the Disbursing Agent of such deficiency
 claim within the same time period. In such event, a proof of claim form shall not be required,
 but the secured creditor shall provide notice of such deficiency claim to the Disbursing Agent in
 a writing containing the same information required in a proof of claim.

         Q.      Deficiency Claims Following Pre-Confirmation Foreclosures or Repossession.
 Each Secured Creditor who conducted a sale of its collateral prior to the Effective Date who has
 not already filed a deficiency claim shall have 30 days after the Effective Date to file a proof of
 claim for any deficiency or be forever barred from asserting any deficiency claim and such
 obligation shall be deemed paid in full. Such proof of claim shall include an itemization of the
 principal, interest, and other costs. Any such deficiency claim shall be treated in the unsecured
 creditor class. In the event the Debtor obtains his Final Decree prior to the determination of any


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 deficiency claim, such secured creditor shall inform the Disbursing Agent of such deficiency
 claim within the same time period. In such event, a proof of claim form shall not be required,
 but the secured creditor shall provide notice of such deficiency claim to the Disbursing Agent in
 a writing containing the same information required in a proof of claim.

         R.      Claims Paid by Third Parties. To the extent a claim holder receives payment in
 full or in part on account of such claim from a party that is not the Debtor, such creditor shall,
 within two (2) weeks therefore, inform the Debtor of such payment, and such creditor’s claim
 shall be reduced accordingly for purposes of distribution under the Plan.

        S.      Termination of Obligations. Notwithstanding any provision of the Plan to the
 contrary, all obligations of the Debtor to holders of Allowed Claims in the Classes of Claims
 designed under the Plan cease and desist upon the payment of the full amount due to such Class
 under the Plan.

        T.      Administrative claims unpaid on the Effective Date will be paid from funds on
 hand or as the parties otherwise agree.

         U.      All objections to claims, fee applications, and adversary proceedings will be filed
 with the Court within 60 days after the Effective Date; provided however, that the Debtor retains
 the right to object or otherwise pursue any claims against secured creditors relating to the payoff
 and/or satisfaction of their secured claims.

        V.      Procedure for Payment of Professional Fees.           Current Court approved
 professionals shall not be subject to the fee application process for services rendered post-
 confirmation in furtherance of implementation of the confirmed Plan.

          W.      Administrative Claims Bar Date. The Confirmation Order will establish an
 Administrative Claim Bar Date for filing all Administrative Claims, which date shall be sixty
 (60) days from the Effective Date. Holders of Administrative Claims not previously Allowed by
 the Court by Final Order must submit proofs of Administrative Claims on or before such
 Administrative Claim Bar Date or be barred from doing so. Such request for an Administrative
 Claim must be made by motion (not by filing a proof of claim on Official Form B 410) and
 include an itemization of the amount of the claim, the basis for such claim, and if such claim is
 based on a writing, a copy of such writing. All Administrative Claims not previously Allowed
 by the Court by Final Order must be filed with the Court on or before the Administrative Claims
 Bar Date and served on counsel for the Debtor. Creditors required to file Administrative Claims
 who fail to do so by the deadline shall be forever barred, estopped, and enjoined from asserting
 such claim(s) against the Debtor. Notwithstanding the forgoing, Administrative Claims arising
 from services rendered by professionals approved by the Court pursuant to Section 327 of the
 Code must comply with the applicable guidelines established by the Bankruptcy Administrator
 for filing fee applications.

        X.       The Debtor will execute and deliver all documentation to the Bankruptcy Court
 and to all parties in interest who are entitled to receive the same as required by the terms of the
 Plan and the Bankruptcy Code.

        Y.      The Debtor shall take such other action as necessary to satisfy the other terms and


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 requirements of the Plan and the Bankruptcy Code.

         Z.     Exemption from Transfer Taxes. Pursuant to § 1146(c) of the Bankruptcy Code,
 the issuance, transfer, or exchange of notes or equity securities under the Plan, the creation of
 any mortgage, or other security interest, the making or assignment of any lease or sublease, or
 the making or delivery of any instrument of transfer under, in furtherance of, or in connection
 with the Plan, including without limitation, deeds, or bills of sale or assignments of personal
 property executed in connection with any of the transactions contemplated under the Plan, will
 not be subject to any stamp, real estate transfer, mortgage recording, sales, use, or other similar
 tax. Each of the relevant state or local governmental officials or agents will forego the collection
 of any such tax or governmental assessment and accept for filing and recordation any of the
 foregoing instruments or other documents without the payment of any such tax or governmental
 assessment consistent with the applicable provisions of the Plan.

                     VI. PRESERVATION OF SECTION 506(c) CLAIMS

         Notwithstanding confirmation of the Plan and the occurrence of the Effective Date, the
 Debtor shall have the right to seek recovery of the cost of maintaining and preserving any
 collateral or property.

             VII. PRESERVATION OF CLAIMS AND AVOIDANCE ACTIONS

         A.      Notwithstanding anything to the contrary in the Plan or Disclosure Statement, the
 provisions of the Plan, Disclosure Statement, or Order Confirming Plan shall not have and are
 not intended to have, any res judicata or collateral estoppel effect with respect to any causes of
 action that the Debtor may assert, regardless of whether and to what extent such causes of action
 are specifically described in the Plan or Disclosure Statement. Unless any causes of action are
 expressly waived, relinquished, released, compromised, or settled in the Plan or by Final Order
 of the Court, all such causes of action are expressly reserved and preserved for later adjudication
 and, therefore, no preclusion doctrine, including without limitation, the doctrines of res judicata,
 collateral estoppel, issue preclusion, claim preclusion, estoppel, or laches shall apply so such
 causes of action upon or after confirmation of the Plan. Furthermore, notwithstanding any
 provision or interpretation to the contrary, nothing in the Plan or Order Confirming Plan,
 including the entry thereof, shall be deemed to constitute a release, waiver, impediment,
 relinquishment, or bar, in whole or in part, of or to any recovery or any other claim, right, or
 cause of action possessed by the Debtor prior to the Effective Date. This shall include, but is not
 limited to all pre-petition claims and any and all post-petition claims that they could or might
 assert against any party or entity arising under or otherwise related to any state or federal statute,
 state or federal common law, and any and all violations arising out of rights or claims provided
 for by Title 11 of the United States Code, by the Federal Rules of Bankruptcy Procedure, or by
 the Local Rules of this Court, including all rights to assert and pursue any Bankruptcy Causes of
 Action. Finally, the Debtor retains all rights to assert and pursue all claims under 11 U.S.C.
 §542, including without limitation actions to seek turnover of estate assets, actions to recover
 accounts receivable, and/or actions to invalidate setoffs.

         B.     Preservation of Avoided Transactions for the Benefit of the Estate. All
 transactions avoided or otherwise set aside pursuant to Sections 544, 547, 548, and/or 549, if
 any, shall be preserved for the benefit of the Estate pursuant to Section 551 and applicable case


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 law. Funds received from such transactions shall be distributed to creditors according to the
 priorities of the Code after payment of any and all litigation costs, fees, and expenses incurred in
 litigating or collecting on such recoveries and shall be treated as a Class 1 Claim. In the case of
 any lien that has been avoided which encumbered certain properties of the Debtor and has since
 been avoided, the lien shall remain on the public record and shall remain an encumbrance upon
 the real property. However, all distributions made towards such deed of trust shall be distributed
 not to the named beneficiary of such deed of trust, but shall instead be paid to the Disbursing
 Agent for distribution to creditors.

        C.      Funds recovered as a result of such actions shall be applied first in reimbursement
 of any attorney’s fees and costs of such actions, and then the remainder shall be the property of
 the Debtor.

        D.       Non-core causes of action presently pending in state and/or federal court in which
 the Debtor is the plaintiffs may continue to be pursued by the Debtor at his sole option.

                                    VIII. MODIFICATIONS

          A.     Modification and Satisfaction. The claims stated herein, by modification, Court
 Order, or other legally appropriate manner, may be modified throughout the course of payment
 under the Plan. The Debtor, upon full payment as called for under the notes and deeds of trust,
 shall be entitled to have the note marked paid and satisfied and the deed of trust cancelled as a
 matter of record, by the Trustee, or by appropriate application to this Court, upon a showing that
 the full amount of the monthly payments were made by the Debtor.

         B.     Amendments and Modifications. The Debtor may alter, amend, or modify the
 Plan or any exhibits thereto under section 1127(a) of the Bankruptcy Code at any time prior to
 the Confirmation Date. After the Confirmation Date and prior to “substantial consummation” of
 the Plan, as defined in section 1101(2) of the Bankruptcy Code, the Debtor may, under 1127(b)
 of the Bankruptcy Code, institute proceedings in the Bankruptcy Court to remedy any defect or
 omission or reconcile any inconsistencies in the Plan, the Disclosure Statement or the
 Confirmation Order, and such matters as may be necessary to carry out the purposes and effects
 of the Plan, so long as such proceedings do not materially adversely affect the treatment of
 holders of Claims or Interests under the Plan; provided, however, that prior notice of such
 proceedings shall be served in accordance with the Bankruptcy Rules or order of the Bankruptcy
 Court. A holder of a Claim that has accepted the Plan shall be deemed to have accepted the Plan,
 as altered, amended or modified, if the proposed alteration, amendment or modification does not
 materially and adversely change the treatment of the Claim of such holder.

         C.     Revocation of Plan. The Debtor has reserved the right to revoke and withdraw its
 Plan before the entry of the Confirmation Order. If the Debtor revokes or withdraws his Plan, or
 if confirmation of the Plan does not occur, then, with respect to the Debtor, this Plan shall be
 deemed null and void and nothing contained herein shall be deemed to constitute a waiver or
 release of any Claims by or against the Debtor, as the case may be, or any other person or
 prejudice in any manner the rights of the Debtor, as the case may be, or person in any further
 proceedings involving such Debtor.




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                                  IX.     OTHER PROVISIONS

          A.     No Representations or Warranties Concerning Tax Attributes/Consequences. The
 Debtor makes no representations or warranties to any creditor of the Debtor concerning the tax
 consequences of confirmation of this Plan, the effect of this Chapter 11 case, or as to the status of
 tax attributes of the Debtor.

        B.     Transfer of Claims. Claims may be transferred and will be honored only in
 accordance with Bankruptcy Rule 3001.

        C.      Limitations on Notice. Following the Effective Date of the Plan, the Debtor shall
 no longer be required to serve or otherwise provide notice of any motions, applications, or other
 pleadings filed in this case on any creditor or claimant which has been paid in full and thus are
 no longer claimants, without the need for the Debtor to take any further action as to this matter.

          D.     Estimation of Claims. The Debtor may, at any time, request that the Bankruptcy
 Court estimate any Contingent Claim, Unliquidated Claim, or Disputed Claim asserted against
 the Debtor pursuant to section 502(c) of the Bankruptcy Code regardless of whether the Debtor
 previously objected to such Claim or whether the Bankruptcy Court has ruled on any such
 objection, and the Bankruptcy Court will retain jurisdiction to estimate any Claim at any time
 during litigation concerning any objection to any Claim, including during the pendency of any
 appeal relating to any such objection. In the event that the Bankruptcy Court estimates any
 Contingent Claim, Unliquidated Claim, or Disputed Claim asserted against the Debtor, the
 amount so estimated shall constitute either the Allowed amount of such Claim or a maximum
 limitation on such Claim, as determined by the Bankruptcy Court. If the estimated amount
 constitutes a maximum limitation on the amount of such Claim, the Debtor may pursue
 supplementary proceedings to object to the allowance of such Claim. All of the aforementioned
 objection, estimation, and resolution procedures are intended to be cumulative and not exclusive
 of one another. Claims against the Debtor may be estimated and subsequently compromised,
 settled, withdrawn or resolved by any mechanism approved by the Bankruptcy Court.

                               X. EFFECT OF CONFIRMATION

        A.      Except as otherwise provided in the Plan, the confirmation of the Plan vests all of
 the property of the estate in the Reorganized Debtor.

         B.      Retention of Properties. The Reorganized Debtor shall retain all property both
 real and personal, and tangible and intangible, subject to such future use or disposition as may be
 in the best interest of the Reorganized Debtor.

         C.      Injunction. As of the Confirmation Date, except as otherwise provided in the Plan
 or the Confirmation Order, all persons that have held, currently hold, or may hold a claim, equity
 interest, or other debt or liability that is treated pursuant to the terms of the Plan or that is
 otherwise enjoined pursuant to Section 1141 of the Code, are enjoined from taking any of the
 following actions on account of any such claims, equity interests, Debtor or liabilities, other than
 actions brought to enforce obligations under the Plan: (i) commencing or continuing in any
 manner any action or other proceeding; (ii) enforcing, attaching, collecting, or recovering in any
 manner any judgment, award, decree or order; (iii) creating, perfecting, or enforcing any lien or


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 encumbrance; (iv) asserting a setoff or right of recoupment of any kind against any debt,
 liability, or obligation; and/or (v) commencing or continuing, in any manner or in any place, any
 action that does not comply with or is inconsistent with the provisions of the Plan or the
 Confirmation order. Notwithstanding the foregoing, the Plan does not release or waive any
 claims that the Debtor may have against any party in interest. This injunction shall not affect any
 creditor’s ability to enforce rights against non-Debtor and non-Debtor’s property.

        D.      Waiver and Release. Confirmation shall constitute waiver and release of the right
 to pursue litigation and causes of action against the Debtor, which release is supported by the
 requirements of this Plan and covenants contained herein.

         E.      Binding Effect. Subject to the occurrence of the Effective Date, on and after the
 Confirmation Date, the provisions of the Plan shall bind any holder of a Claim against, or
 Interest in, the Debtor and such holder’s respective successors and assigns, whether or not the
 Claim or interests including any Interest of such holder is impaired under the Plan, whether or
 not such holder has accepted the Plan and whether or not such holder is entitled to a distribution
 under the Plan.

        F.       Discharge of Claims. Except as provided in the Plan, the rights afforded in and
 the payments and distributions to be made under the Plan shall discharge all existing debts and
 Claims of any kind, nature or description whatsoever against or in the Debtor or any of his assets
 or properties to the fullest extent permitted by section 1141 of the Bankruptcy Code.

                            XI. RELEASE OF TITLE TO PROPERTY

         A.       Vehicles. Upon the satisfaction or other discharge of a security interest in a motor
 vehicle, mobile home, or in any other property of this estate in bankruptcy for which the
 certificate of title is in the possession of the secured party, the secured party shall within ten (10)
 days after demand and, in any event, within thirty (30) days of receipt of the payment in full
 pursuant to the Plan, execute a release of its security interest on the said title or certificate, in the
 space provided therefore on the certificate or as the Division of Motor Vehicles prescribes, and
 mail or deliver the certificate and release to the Debtor. Confirmation of this Plan shall impose
 an affirmative and direct duty on each such secured party to comply with the provision. This
 provision shall be enforced in a proceeding filed before the Bankruptcy Court and each such
 creditor consents to such jurisdiction by failure to file any timely objection to this Plan. Such an
 enforcement proceeding may be filed by the Debtor in this case either before or after the closing
 of this case. The Debtor specifically reserves the right to file a motion to reopen this case under
 Section 350 of Title 11 of the United States Code to pursue the rights and claims provided for
 herein.

        B.      Real Property. Pursuant to N.C.G.S. § 45-36.9, upon the satisfaction or other
 discharge of a security interest in real property for which a creditor holds a properly secured
 mortgage, the secured party shall within thirty (30) days after demand or within thirty (30) days
 of payment in full pursuant to the Plan, submit for recording with the Office of the Register of
 Deeds for the applicable County a satisfaction of its security interest and mail or deliver the
 recorded satisfaction document or documents to the Debtor. The failure of any such party to
 comply with this section shall result in the imposition of statutory damages of $1,000.00, actual
 damages, costs and legal fees as provided for by Section 45-36.9(c) of the N.C. General Statutes.


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 Confirmation of this Plan shall impose an affirmative and direct duty on each such secured party
 to comply with this provision. This provision shall be enforced in a proceeding filed before the
 Bankruptcy Court and each such creditor consents to such jurisdiction by failure to file any
 timely objection to this plan. Such an enforcement proceeding may be filed by the Debtor in this
 case either before or after the closing of this case. The Debtor specifically reserves the right to
 file a motion to reopen this case under Section 350(b) of Title 11 of the United States Code to
 pursue the rights and claims provided for herein including all remedies for damages and attorney
 fees under applicable State and Federal statutes.

                     XII. PROVISIONS GOVERNING DISTRIBUTIONS

         A.      Delivery of Distributions in General. Distributions to holders of allowed claims
 shall be made: (i) at the addresses set forth in the proofs of claim filed by such holders; (ii) at the
 addresses set forth in any written notices of address change submitted to the Court or Attorney
 for the Debtor after the date on which any related proof of claim was filed; or, if the information
 described in clauses (i) or (ii) is not available, (iii) at the addresses reflected in the Debtor’s
 schedules of liabilities.

         B.     Distributions under the Plan shall be made on the Distribution Date; provided
 however, that Court approved professionals may be paid as such fees and expenses are approved
 by the Court. Any distribution required to be made hereunder on a day other than a business day
 shall be made on the next succeeding business day.

         C.      De Minimis Distributions. No distribution of less than twenty-five dollars
 ($25.00) shall be required to be made to any holder of an allowed unsecured claim. Instead, the
 Debtor shall have the option of retaining such funds to be distributed at the time of the final
 distribution in accordance with the Plan.

         D.      Unclaimed Property. If any distribution remains unclaimed for a period of 90
 days after it has been delivered, or attempted to be delivered, such unclaimed property shall be
 forfeited by such holder of the claim and the Disbursing Agent shall not attempt to make any
 further distribution of such holder of the claim. Undistributed property shall be returned to the
 Debtor for distribution in accordance with the Plan.

         E.      All payments or distributions made by the Debtor shall be applied as indicated in
 the respective treatment for each creditor, or if no such application of payments is specified, then
 payments shall be applied first to outstanding interest and then to principal. In the event that a
 creditor claims that it is entitled to costs and/or attorney’s fees, such creditor must file a fee
 application with the Court and such costs and attorney’s fees must be approved by the Court
 prior to such costs and attorney’s fees becoming part of the creditor’s allowed claim.

        XII. SIMILAR TREATMENT FOR EACH CLAIM WITHIN A CLASS

         The claims stated herein, by modification, Court Order, or other legally appropriate
 manner, may be modified throughout the course of payment under this Plan. The Debtor, upon
 full payment as called for under the notes and deeds of trust, shall be entitled to have the note
 marked paid and satisfied and the deed of trust canceled as a matter of record, by the Trustee, or
 by appropriate application to this Bankruptcy Court, and upon a showing that the full amount of


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 the monthly payments were made by the Debtor.

                     XIII. ACCEPTANCE OR REJECTION OF PLAN;
                    EFFECT OF REJECTION BY AN IMPAIRED CLASS

         A.      Each Impaired Class Entitled to Vote Separately. Each impaired class of claims
 shall be entitled to have the holders of claims therein vote separately as a class to accept or reject
 the Plan.

        B.      Acceptance by a Class of Creditors. Consistent with § 1126(c) of the Bankruptcy
 Code, and except as provided in § 1126(e) of the Bankruptcy Code, a class of claims shall have
 accepted the Plan if the Plan is accepted by holders of at least two-thirds (2/3) in dollar amount
 and more that one-half (1/2) in number of the allowed claims of that class that have timely and
 properly voted to accept or reject the Plan.

        C.      Claimants Entitled to Vote. Holders of impaired claims shall be entitled to vote
 if:

                (1)    Such claim has been filed against the Debtor in a liquidated amount or has
        been listed on the Debtor’s schedules other than as contingent, unliquidated or disputed,
        and as to which no proof of claim has been filed. The claim shall be allowed solely for
        the purpose of voting on the Plan in the amount in which such claim has been filed or
        listed on the Debtor’s schedules;

               (2)    Such claim has been filed against the Debtor or listed on the Debtor’s
        schedules and is the subject of an existing objection filed by the Debtor, and is
        temporarily allowed for voting purposes by order of the Court in accordance with
        Bankruptcy Rule 3018;

                (3)     Such claim has been filed in an undetermined amount, in which case the
        creditor shall not be entitled to vote unless the Debtor and the holder of the claim agree
        on an amount for voting purposes or the Court enters an order setting the amount of the
        claim that the creditor may ballot.

               (4)    Any entity holding two or more duplicate claims shall be entitled to vote
        only one claim.

        D.      Confirmation Hearing. The Court will set a hearing on the confirmation of the
 Plan to determine whether the Plan has been accepted by the requisite number of creditors and
 whether the other requirements for confirmation of the Plan have been satisfied.

        E.      Acceptances Necessary to Confirm the Plan. At the hearing of confirmation of
 the Plan, the Court shall determine, among other things, whether the Plan has been accepted by
 each impaired class. Under § 1126 of the Bankruptcy Code, an impaired class of Creditors is
 deemed to accept the Plan if at least two-thirds (2/3) in amount and more than one-half (1/2) in
 number vote to accept the Plan. Further, unless there is unanimous acceptance of the Plan by an
 impaired class, the Court must also determine that class members will receive property with a
 value, as of the Effective Date of the Plan, that is not less than the amount that such class


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 member would receive or retain if the Debtor were liquidated as of the Effective Date of the Plan
 under Chapter 7 of the Bankruptcy Code.

         F.     Confirmation of Plan Without Necessary Acceptances. The Bankruptcy Code
 provides that the Plan may be confirmed even if it is not accepted by all impaired Classes. In
 order to be confirmed without the requisite number of acceptances of each impaired class, the
 Court must find that at least one impaired class has accepted the Plan without regard to the
 acceptances of insiders, and the Plan does not discriminate unfairly against, and is otherwise fair
 and equitable, to such impaired class. In the event that any class votes against the plan, the
 Debtor hereby request and move the Court under the provisions of this Plan entitled
 “Cramdown,” for confirmation pursuant to the “cramdown” provisions of § 1129(b) of the
 Bankruptcy Code. In connection therewith, the Debtor shall be allowed to modify the proposed
 treatment of the allowed claims in any class that votes against the Plan consistent with §
 1129(b)(2)(A).

                    XIV. “CRAMDOWN” FOR IMPAIRED CREDITORS
                             NOT ACCEPTING THE PLAN

         In respect to any class of creditors impaired but not accepting the Plan by the requisite
 majority in number or two-thirds in amount, the proponent of this Plan requests the Court to find
 that the Plan does not discriminate unfairly and is fair and equitable in respect to each class of
 claims or interests that are impaired under the Plan and that the Court confirm the Plan without
 such acceptances by the said impaired classes. The Debtor will also request that the Court
 establish a value for any assets, the value of which is in dispute between the Debtor and any
 secured creditor, at a valuation hearing under Section 506 of the Bankruptcy Code, to be
 scheduled at the same time as the hearing on confirmation of the Plan.

                         XV. APPLICATION OF PLAN PAYMENTS

         A.      All payments made by the Debtor shall be applied as indicated in the respective
 treatment for each creditor, or if no such application of payments is specified, then payments
 shall be applied to principal and interest on a monthly basis according to the amortization
 schedule proposed for each creditor. In the event that a creditor is entitled to costs and/or
 attorneys fees post-petition under Section 506(b) of the Code, such creditor must file an
 application in accordance with the Code and/or Bankruptcy Rules pertaining to approval of costs
 and/or attorney fees prior to such costs and/or attorneys fees becoming part of the creditor’s
 allowed claim. Confirmation of the Plan shall impose an affirmative duty and legal obligation on
 the holders and/or the servicers of any claims secured by liens, mortgages and/or deeds of trust to
 apply payments in the manner set forth in the Plan in accordance with Section 524(i).

        B.     Confirmation of the plan shall impose a duty on the holders and/or servicers of
 claims secured by liens on real property to apply the payments received from the Debtor to the
 month in which they were made under the plan or directly by the Debtor, whether such payments
 are immediately applied to the loan or placed into some type of suspense account and to
 otherwise comply with 11 U.S.C. Section 524(i).




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                           XVI. RETENTION OF JURISDICTION

        The Bankruptcy Court shall retain jurisdiction of these proceedings pursuant to and for
 the purposes of Sections 105(a) and 1127 of the Code and for, without limitation, the following
 purposes, inter alia:

         1.    To determine any and all objections to the allowance of claims and/or interests;

         2.     To determine the payoff of any claim or the amount necessary to satisfy and
 release any and all liens;

         3.    To order the release of any and all liens upon the payoff of any claim;

         4.       To determine any and all applications for allowance of compensation for periods
 prior to or after the Confirmation Date;

         5.    To determine any and all applications pending on the Confirmation Date for the
 rejection and disaffirmance or assumption or assignment of executory contracts and the
 allowance of any claim resulting therefrom;

         6.    To determine all controversies and disputes arising under or in connection with
 the Plan;

        7.     To determine all applications, adversary proceedings and litigated matters
 pending on the Confirmation Date;

        8.      to effectuate payments under, and performance of, the provisions of the Plan,
 including, but not limited to, future sales of personal and real property retained by the Estate;

          9.     To determine such other matters and for such other purposes as may be provided
 for in the confirmation order;

         10.   To determine all disputes regarding property of the estate;

         11.   To establish and adjust procedures for the orderly administration of the estate;

       12.    To determine matters that are subject to proceedings duly removed to the
 Bankruptcy Court; and

         13.   To replace the Debtor-in-Possession with a Trustee for good cause shown.

                          XVII. MISCELLANEOUS PROVISIONS

        A.      Survival of Terms. The covenants, representations, and agreements made in this
 Plan shall survive the Confirmation Date and the transactions contemplated herein.

        B.      Successors Bound. This Plan shall on the Consummation Date be binding upon
 and inure to the benefit of the respective heirs, successors and assigns of the Debtor, and the


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 holders of claims and interests.

        C.      Controlling Law. This Plan shall be read and construed and take effect in all
 respects in accordance with the law as set forth in the United States Bankruptcy Code and the
 Rules promulgated thereunder and the State of North Carolina.

        D.       Further Assurance. If at any time, the Debtor shall consider, or be advised, that
 any further releases, assurances or documents are reasonably necessary or desirable to carry out
 the provisions hereof, and the transactions contemplated herein, the holders of claims and the
 holders of interest shall, upon reasonable request, execute and deliver any and all documents and
 assurances, and do all things necessary or appropriate to carry out fully the provisions hereof.

        F.      Incorporation of Disclosure Statement. All the terms and conditions of the
 Disclosure Statement are incorporated herein by reference.

                                      XVIII. DISCHARGE

         The Confirmed Plan will not discharge any debt provided for in this Plan until the Court
 grants a discharge, unless the Plan treatment for such Claim is to specifically extinguish or
 otherwise eliminate such Claim (for example, Claims which the Plan asserts have already been
 satisfied shall be extinguished upon confirmation of the Plan and not upon entry of the
 Discharge). The Court may grant the Debtor a discharge upon (i) completion of all payments
 under the Plan, (ii) prior to completion of all payments under this Plan upon them providing
 assurance that all payments will be made, e.g. adequate security interest provided to each class of
 creditors with payments remaining, or (iii) as otherwise provided in § 1141(d)(5). Dawsey will
 not be discharged from any debt excepted from discharge under § 523, except as provided in
 Bankruptcy Rule 4007(c). Upon entry of the discharge, the discharge will be fully effective
 against all Creditors regardless of whether they have voted to accept or reject the Plan and
 regardless of whether the Plan is confirmed by consent or by resort to the cramdown provisions
 of § 1129(b). However, although no discharge may be entered until completion of all payments
 contemplated by the Plan, the Debtor will seek to have the case closed upon substantial
 consummation under § 1101(2). Further, the Debtor will seek to have the case automatically re-
 opened pursuant to § 350(b) without the payment of a fee, upon the filing and service on all
 creditors and the Bankruptcy Administrator, of a Notice of Completion of Plan Payments and
 Request for Entry of Discharge, allowing all parties twenty (20) days to file a response.




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IN RE CARLOS F. GOMEZ
CASE NO. 18-02707-5-DMW
FIRST AMENDED PLAN OF REORGANIZATION
EXHIBIT A: PLAN CLASSES & LIABILITIES


                                                                                     Estimated Monthly
                                          Clm Impairment           Amount
                                                                                      Payment / Notes
Class 1: ADMINISTRATIVE CLAIMS                  Unimpaired
     Stubbs & Perdue                                                 TBD

Class 2: AD VALOREM TAXES                       Unimpaired $                 -
     Dare County                                           $                 -   $                    -


Class 3: TAX CLAIMS                             Unimpaired $        122,554.40
    IRS                                    4      Priority    $      87,825.90           $2,144.42
    NC DoR                                 1      Priority    $      34,728.50            $847.96

Class 4: LOANCARE                          9     Impaired     $     559,024.58
     46 Juniper Trail                           Claim as of
                                                              $     574,107.94           $4,478.60
     Southern Shores, NC 27949                    2/11/19
                                                  Secured     $     420,000.00   Sell within 12 months
                                                Unsecured     $     154,107.94        See Class 6

Class 5: WELLS FARGO                             Impaired     $     146,394.09
     46 Juniper Trail
                                           3    Unsecured     $     146,394.09          See Class 6
     Southern Shores, NC 27949

                                                                                 $50,000 paid pro rata
Class 6: GENERAL UNSECURED
                                          Clm    Impaired         $358,893.51     Approximate total
CLAIMS
                                                                                 payment over 5 years
    Bank of America #6317                                         $25,905.00           $3,609.01
                                                 Unknown
    BB&T #2676                                                       $0.00                 $0.00
                                                 Disputed
    Department of Education #0513                                  $7,325.00             $1,020.50
    Navient #9537                          2                       $7,696.31             $1,072.23
    New Dixie Oil Corporation                                        $0.00                 $0.00
                                                $376,843.63
                                                 Unknown
    OB Gas, L.L.C.                                                   $0.00                 $0.00
                                                 Disputed
    Outer Banks Emergency Dept. #9800                              $391.00                $54.47
                                                  Order
                                                 Denying
    Small Business Administration #024B    7                         $0.00                 $0.00
                                                  Claim
                                                  DE-72
                                                  Order
                                                 Denying
    Small Business Administration #024B    8                         $0.00                 $0.00
                                                  Claim
                                                  DE-72
    U.S. Bank, NA dba Elan Financial       5                       $2,648.50              $368.98
    US Department of Education #3747                               $2,634.00              $366.96
    US Department of Education #9997                               $1,629.00              $226.95
    Wells Fargo #1886                      6                       $6,032.94              $840.49
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Class 4 Loan Care Unsecured Claim         estimated   $154,107.94   $21,469.87
Class 5 Wells Fargo Unsecured Claim   3               $146,394.09   $20,395.20
IRS Unsecured Claim                   4                $4,129.73     $575.34
                                                                    $50,000.00
